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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN

MICHIGAN URGENT CARE & PRIMARY.                       )
CARE PHYSICIANS, P.C.                                 )
                                                      )
                 Plaintiff,                           )
                                                      )       No. 2:15-CV-11233-AC-AKM
                 v.                                   )
                                                      )
VALEANT PHARMACEUTICALS                               )
NORTH AMERICA, LLC,                                   )
                                                      )
                 Defendant.                           )

                 STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       This matter having come before the Court upon the stipulation of the parties,

through their undersigned counsel, and the Court being otherwise fully advised in

the premises;

       WHEREAS, the parties have negotiated a settlement, and pursuant to Fed R.

Civ. Proc. 41(a), hereby stipulate to the dismissal of Plaintiff's individual claims with prejudice

and without costs and the dismissal of Plaintiff's putative class claims without prejudice and

without costs.




       IT IS SO ORDERED.

Dated: June 19, 2015                                      s/Avern Cohn
                                                          U.S. District Court Judge




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STIPULATED AND AGREED:



MICHIGAN URGENT CARE &                        VALEANT PHARMACEUTICALS
PRIMARY CARE PHYSICIANS, P.C.                 NORTH AMERICA, LLC

s/Daniel A. Edelman                           s/Lawrence J. Murphy (with permission)
By one of its attorneys                       By one of its attorneys
Daniel Edelman                                Lawrence J. Murphy
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